          Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 1 of 43




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------ X
SAMIRA SIERRA, AMALI SIERRA, RICARDO
NIGAGLIONI, ALEX GUTIERREZ, and CHARLES
HENRY WOOD, on behalf of themselves and all others
similarly situated,

                                    Plaintiffs,
          v.                                                                 20-cv-10291 (CM)(GWG)
                                                                             20-cv-10541 (CM)(GWG)
CITY OF NEW YORK, a municipal entity; and
Mayor BILL DE BLASIO,                                                        CONSOLIDATED AND
Chief of Department TERENCE A. MONAHAN,                                      AMENDED
Assistant Chief KENNETH C. LEHR,                                             CLASS ACTION
Inspector ROBERT GALLITELLI,                                                 COMPLAINT
Bureau Chief HARRY WEDIN,
Deputy Chief JOHN D’ADAMO,
Deputy Chief GERARD DOWLING,                                                 JURY TRIAL DEMANDED
Captain JULIO DELGADO,
Sergeant KENNETH RICE,
Sergeant THOMAS GARGUILO,
Police Officer JOHN MIGLIACCIO,
and Police Officer THOMAS MOSHER,
in their individual capacities,

                                     Defendants.
------------------------------------------------------------------------ X
        Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 2 of 43




                                PRELIMINARY STATEMENT

       1.      More than half a century after law enforcement officers attacked civil rights

marchers on the Edmund Pettus Bridge in Selma, Alabama, the New York City Police Department

planned and executed a similar attack on a peaceful demonstration for racial equality in the Mott

Haven neighborhood of the Bronx on June 4, 2020. The Mott Haven protest was one of many that

followed the execution of George Floyd at the hands of Minneapolis police. The Bronx marchers

were protesting vile acts of police violence against people of color and the role of police in

perpetuating systemic racial inequality.

       2.      NYPD officers directed the Mott Haven protesters into a trap, corralled (or

“kettled”) them, and attacked and arrested them en masse. Videos from the June 4th Mott Haven

protest show heavily-armored phalanxes of police using batons, bicycles, and pepper spray to

assault a racially diverse group of people who were peacefully protesting for racial justice.

       3.      This was an intentional and unconstitutional effort to suppress the protesters’

message, to intimidate them, and to send a message to racial justice protesters throughout New

York City. The NYPD Police Commissioner at the time later said, “We had a plan which was

executed nearly flawlessly in the Bronx,” echoing the Mayor’s public statement that “what

happened in Mott Haven . . . is something that the NYPD saw coming.” The Mayor also described

his personal oversight of the NYPD’s operations, saying publicly that he “approved the broad

strategies and sometimes very specific choices” related to the NYPD’s actions at the Mott Haven

protest and other demonstrations.

       4.      Nor is there any doubt that the NYPD’s attack on the Mott Haven protesters was

motivated by animus toward their message. The Police Commissioner at the time put it bluntly

when he stated that the demonstrators’ anti-police message “disgusts me to my core.”



                                                 2
            Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 3 of 43




        5.          After the murder of George Floyd, people across the United States marched to

demand that Black Lives Matter and to denounce police violence against people of color and the

role of police in maintaining systemic racial inequality. The protests called for defunding and even

abolishing the police. The protests demanded full and equal protection of the law – the same cause

that brought people into the streets of Selma in 1965 and, fifty years later, into the streets of

Ferguson, Missouri, and starting in late May 2020, to cities and towns across the United States and

across the world. In places like Minneapolis, Louisville, and New York City, including the South

Bronx, those protesters were met with the very police brutality that they were protesting.

        6.         The many protests in New York City were universally critical of the NYPD and its

continued policies of targeting and victimizing people of color – echoing protests after the NYPD’s

unjustified killings of Ramarley Graham, Akai Gurley, Eric Garner, Delrawn Small, Sean Bell,

and many others. The protests called for reforming or dismantling the NYPD and re-directing

funds to needed social and civic programs in communities of color.

        7.         City officials, including Mayor BILL DE BLASIO, Police Commissioner Dermot

F. Shea, and Chief of Department TERENCE A. MONAHAN, openly expressed hostility toward

the protesters’ views.1 The NYPD suppressed the protests by kettling and violently attacking and

arresting demonstrators.2

        8.         The NYPD carried out one such operation against demonstrators who had gathered

in the South Bronx on June 4, 2020. People of the South Bronx had reason to protest racially

discriminatory police practices. The South Bronx was where Amadou Diallo was gunned down


        1
            The titles held by City officials at the time of the events recounted are used throughout this Complaint.
        2
           Allison McCann, Blacki Migliozzi, Andy Newman, Larry Buchanan and Aaron Byrd, N.Y.P.D. Says It
Used Restraint During Protests. Here’s What the Videos Show, N.Y. TIMES (June 14, 2020), available at
https://www.nytimes.com/interactive/2020/07/14/nyregion/nypd-george-floyd-protests.html. The videos of NYPD
officers using unprovoked and unjustified force during the George Floyd/Black Lives Matter demonstrations
contained in this article are incorporated herein.


                                                            3
           Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 4 of 43




by NYPD officers, as were many others. The South Bronx is the U.S. Congressional district with

the highest percentage of people of color of any district in the United States, and the NYPD’s now

infamous stop-and-frisk program was pervasive in the Bronx. The purpose of stop-and-frisk was,

in the words of former Police Commissioner Ray Kelly, “to instill fear” in young Black and Latino

men “that every time they left their homes they could be stopped by police.”3 Although stop-and-

frisk was declared unconstitutional in 2013, it had been the policy for over a decade and was not

easily dismantled. To this day court-ordered remedial efforts are attempting to root out the

NYPD’s institutionalized practice of racially biased policing.4

       9.      Human Rights Watch published a video report about the NYPD’s June 4th operation

in Mott Haven, which is publicly available online at https://www.hrw.org/news/2020/09/30/us-

new-york-police-planned-assault-bronx-protesters. The video report includes witness interviews

and video recorded at the protest. It shows a peaceful, racially diverse march of protesters,

exercising their First Amendment rights well before the Mayor’s 8:00 p.m. curfew. It also shows

NYPD officers trapping protestors before the curfew went into effect. The officers refused to

allow protesters to disperse and engaged in unprovoked violence before and during the arrests of

the protesters. The officers were overseen personally by Chief of Department TERENCE A.

MONAHAN; KENNETH C. LEHR, Commanding Officer of NYPD Patrol Borough Bronx;

ROBERT GALLITELLI, Commanding Officer of the 40th Precinct; HARRY WEDIN, Bureau

Chief of the Special Operations Bureau; JOHN D’ADAMO, Commanding Officer of the NYPD




         3
           Donald F. Tibbs and Tryon P. Woods, Requiem for Laquan McDonald: Policing as Punishment and
Abolishing Reasonable Suspicion, 89 TEMPLE L. REV. 763, 769 (2017).
       4
          Periodic updates about these efforts are posted on the “Official Website of the NYPD Monitor,”
http://NYPDmonitor.org.


                                                   4
         Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 5 of 43




Strategic Response Group; and GERARD DOWLING, Executive Officer of the Strategic

Response Group.

        10.     This lawsuit seeks justice for the civil rights violations against the Mott Haven

protesters. Plaintiffs seek compensatory and punitive damages for their injuries and the injuries

of the other people illegally seized and assaulted by the police during the NYPD’s Mott Haven

operation.

                                          JURISDICTION

        11.     This Court has jurisdiction over plaintiffs’ civil rights claims brought under 42

U.S.C. § 1983 pursuant to 28 U.S.C. §§ 1331 and 1343(a)(3), (4).

        12.     Plaintiffs invoke supplemental jurisdiction over any and all state law claims and

as against all parties that are so related to claims in this action within the original jurisdiction of

this court that they form part of the same case or controversy, pursuant to 28 U.S.C. § 1367.

                                               VENUE

        13.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2), as a substantial

part of the events alleged herein were committed within this district.

                                          JURY DEMAND

        14.     Plaintiffs demand a jury trial on each and every claim to which they are legally

entitled to a jury.

              COMPLIANCE WITH NEW YORK GENERAL MUNICIPAL LAW

        15.     Plaintiffs filed Notices of Claim with the Comptroller of the City of New York

within 90 days of the events complained of herein.

        16.     Plaintiffs have complied with all other applicable requirements of the New York

General Municipal Law, including attending General Municipal Law § 50-h examinations.



                                                   5
        Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 6 of 43




       17.     More than thirty days have elapsed since the filing of the Notice of Claim, and

adjustment or payment thereof has been neglected or refused.

                                            PARTIES

       18.     Plaintiffs SAMIRA SIERRA, AMALI SIERRA, RICARDO NIGAGLIONI,

ALEX GUTIERREZ, and CHARLES HENRY WOOD are citizens and residents of the State of

New York and of the United States. At all relevant times, they were residents of the City of New

York. They are referred to collectively herein as “the named plaintiffs.”

       19.     Defendant CITY OF NEW YORK (“the City”) is a municipal entity created and

authorized under the laws of the State of New York.

       20.     The City is authorized by law to maintain a police department and does maintain

the New York City Police Department (referred to herein as “the NYPD”). The NYPD acts as the

City’s agent and the City assumes the risks incidental to the maintenance of a police department

and the employment of police officers.

       21.     Defendant BILL DE BLASIO was, at all times relevant to this Complaint, the

Mayor of the City of New York and the chief executive officer of the City of New York.

       22.     Section 8 of the City Charter provides that the Mayor “shall exercise all the powers

vested in the city” and “shall be responsible for the effectiveness and integrity of city government

operations and shall establish and maintain such policies and procedures as are necessary and

appropriate to accomplish this responsibility.”

       23.     Defendant Chief of Department TERENCE A. MONAHAN was, at all times

relevant to this Complaint, the NYPD Chief of Department.

       24.     The Chief of Department is the highest-ranking uniformed officer in the NYPD.

All members of the NYPD are required to follow lawful orders issued by the Chief of Department.



                                                  6
        Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 7 of 43




       25.    The Chief of Department oversees and supervises all NYPD operations and is

responsible for developing and implementing NYPD policing policies.

       26.    Defendant Assistant Chief KENNETH C. LEHR was, at all times relevant to this

Complaint, Commanding Officer of NYPD Patrol Borough Bronx.

       27.    The Commanding Officer of Patrol Borough Bronx oversees and supervises patrol

operations in the Bronx. All members of the NYPD under his command are required to follow

lawful orders issued by the Commanding Officer.

       28.    Defendant Inspector ROBERT GALLITELLI was, at all times relevant to this

Complaint, the Commanding Officer of the 40th Precinct in the Bronx.

       29.    Defendant Bureau Chief HARRY WEDIN was, at all times relevant to this

Complaint, the Commanding Officer of the NYPD Special Operations Bureau.

       30.    The Commanding Officer of the Special Operations Bureau oversees and

supervises the Strategic Response Group, the Emergency Services Unit, the Aviation Unit, the

Harbor Unit, and the Mounted Unit. All uniformed members of the NYPD under his command

are required to follow orders issued by the Commanding Officer.

       31.    Defendant Deputy Chief JOHN D’ADAMO was, at all times relevant to this

Complaint, the Commanding Officer of the NYPD Strategic Response Group, or “SRG.”

       32.    The Commanding Officer of SRG oversees and supervises SRG and its

subdivisions. All uniformed members of the NYPD under his command are required to follow

lawful orders issued by the Commanding Officer.

       33.    Defendant Deputy Chief GERARD DOWLING was, at all times relevant to this

Complaint, the Executive Officer of SRG.




                                              7
         Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 8 of 43




       34.     Defendant Captain JULIO DELGADO was, at all times relevant to this Complaint,

the Commanding Officer of the NYPD Strategic Response Group 2 (“SRG-2”), a unit within SRG.

       35.     Defendant Sergeant KENNETH RICE, an attorney, was, at all times relevant to this

Complaint, assigned to the NYPD Legal Bureau.

       36.     Defendant Sergeant THOMAS GARGUILO was, at all times relevant to this

Complaint, assigned to SRG.

       37.     Defendant Police Officer JOHN MIGLIACCIO was, at all times relevant to this

Complaint, assigned to the NYPD Police Service Area 7.

       38.     Defendant Police Officer THOMAS MOSHER was, at all times relevant to this

Complaint, assigned to SRG.

       39.     The individual defendants are all sued in their individual capacities.

       40.     At all times relevant herein, the individual defendants were employed by the City

and acted under color of law in the course and scope of their duties and authority as officers, agents,

servants, and employees of the NYPD and the City.

       41.     At all relevant times, the individual defendants violated clearly established rights

under the First, Fourth, and Fourteenth Amendments to the United States Constitution of which

reasonable officials in their respective circumstances would have known.

       42.     At all times relevant to this Complaint, individual defendants MONAHAN, LEHR,

GALLITELLI, WEDIN, D’ADAMO, and DOWLING, were NYPD Chiefs and Inspectors of the

City of New York who had authority to establish policy for the City and the NYPD.

       43.     The City of New York is liable under 42 U.S.C. § 1983 pursuant to Monell v.

Department of Social Services, 436 U.S. 658 (1978), Pembaur v. City of Cincinnati, 475 U.S. 469

(1986), and other decisions.



                                                  8
            Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 9 of 43




                                     STATEMENT OF FACTS

I.      The June 4th Mott Haven Protest Rally

        44.     On June 4, 2020, at approximately 6:30 p.m., people gathered at The Hub in the

South Bronx to participate in the first large demonstration in that borough since police killed

George Floyd.

        45.     The Hub is one of the “most dynamic commercial centers” in the Bronx and has

been called “the Times Square of the Bronx.”5            The description is apt for the geographic

configuration of The Hub, which is formed by the intersection of East 149th Street and Willis,

Melrose, and Third Avenues.

        46.     The purpose of the June 4th rally was to demand racial justice and accountability

for police violence against people of color. The protesters chanted “I can’t breathe”—the last

words of George Floyd and of Eric Garner, who was killed by an NYPD officer—and other

messages critical of the NYPD. The protesters left The Hub and marched through the Mott Haven

neighborhood.

II.     The NYPD’s Operation to “Kettle” and Attack the June 4th Mott Haven Marchers

        47.     In an effort to suppress the Mott Haven protesters’ message and to intimidate

them—to send a message of their own to protesters across New York City and those who were

supportive of the protesters’ message—the NYPD planned in advance and orchestrated an

operation to encircle and seize, or “kettle,” the racially diverse protesters, assault them, and arrest

them in the heart of a community of color.




        5
           Alison Gregor, People, Shops and Roads Converge Here, N.Y. TIMES (June 8, 2012), available at
https://www.nytimes.com/2012/06/10/realestate/the-hub-the-bronx-living-in-people-shops-and-roads-converge-
here.html.


                                                    9
        Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 10 of 43




        48.     Defendant DE BLASIO stated publicly that he “approved the broad strategies and

sometimes very specific choices” related to the NYPD’s tactics carried out in Mott Haven on

June 4 and earlier.

        49.     Defendants MONAHAN, LEHR, GALLITELLI, WEDIN, D’ADAMO, and

DOWLING gathered at the 40th Precinct in the Bronx on the afternoon of June 4, 2020.

Throughout that afternoon, different combinations of these defendants – all NYPD Chiefs and

Inspectors – met with each other and together arrived at an overall plan to arrest the participants

in the protest. These defendants coordinated the plan with at least five other NYPD Chiefs and

numerous Inspectors and Captains who were personally present at the 40th Precinct and throughout

the police operation resulting in the arrest of plaintiffs.

        50.     Different combinations of these defendants – MONAHAN, LEHR, GALLITELLI,

WEDIN, D’ADAMO, and DOWLING – met with and gave instructions to subordinate officers

who supervised police units that were part of the overall plan to arrest the participants in the protest.

They directed and supervised over 700 police officers in units that were assigned tasks in advance

for different phases of the operation, including: physically stopping and encircling the protesters,

taking the seized individuals into custody and placing them in flex-cuffs, taking custody of

arrestees who had been cuffed and preparing their paperwork at Mass Arrest Processing Centers

and Precinct stationhouses, and transporting the arrestees in arrest vans and Corrections

Department buses. Each of these defendants supervised other officers and directed them to seize,

assault, and arrest plaintiffs and other people. Some of them personally physically seized,

assaulted, and arrested protesters and other people on East 136th Street between Brook Avenue and

Brown Place.




                                                   10
        Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 11 of 43




       51.     Defendant NYPD Captain DELGADO supervised foot officers of a Strategic

Response Group that seized the plaintiffs pursuant to the overall plan for the NYPD’s operation in

Mott Haven, and personally physically seized, assaulted, and arrested people who were encircled

on East 136th Street between Brook Avenue and Brown Place on June 4, 2020. After the arrests,

DELGADO gave a false account of the incident to the Office of the Bronx District Attorney.

       52.     Defendant attorney RICE told defendants LEHR, D’ADAMO, DOWLING and

other defendants that there was probable cause to arrest plaintiffs, and was directly involved in

seizing, assaulting, and arresting plaintiffs and other people who were seized on East 136th Street

between Brook Avenue and Brown Place on June 4, 2020.

       53.     Defendants GARGUILO and MOSHER were directly involved in seizing,

assaulting, and arresting plaintiff WOOD and others on East 136th Street between Brook Avenue

and Brown Place on June 4, 2020.

       54.     Defendant MIGLIACCIO pepper-sprayed plaintiff NIGAGLIONI and other people

on East 136th Street between Brook Avenue and Brown Place on June 4, 2020.

       55.     Defendants intended to instill fear in the Mott Haven protesters and others who

might join them in further non-violent protests for racial justice and police reform, and to deter

them from doing so.

III.   The March and Arrests

       56.     After the rally at The Hub, the protesters began peacefully marching down Third

Avenue. NYPD officers followed and tracked the course of the march on all sides.

       57.     The march continued through the grounds of the Patterson Houses, a public housing

development whose residents are primarily people of color. Residents voiced their support for the

protesters’ message, and some leaned out their windows banging pots and pans.



                                                11
         Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 12 of 43




         58.   The march continued peacefully south on Willis Avenue, still tracked by police on

all sides. At various times, protesters chanted slogans expressing their anger over the conduct of

the NYPD in their community.

         59.   At East 135th Street and Willis Avenue, defendant LEHR and other defendants

formed a line of officers and bicycles, and the protesters, who were moving south on Willis

Avenue, turned east onto East 136th Street toward Brook Avenue.

         60.   The march was orderly and peaceful. There were no instances of violence, no

confrontations with police or anyone else, and no harm to property.

         61.   As the group of protesters proceeded east on East 136th Street, NYPD officers on

bicycles, under the direction defendants WEDIN, D’ADAMO, DOWLING and other defendants

used themselves and their bicycles to block the Brook Avenue end of the block of East 136th Street

between Brook Avenue and Brown Place. They were joined and supervised by defendants

MONAHAN, GALLITELLI, and DELGADO.

         62.   It was NYPD Chiefs, not the supervisors within a bike squad, who made the

decision as to where the line of bikes would be formed.

         63.   Meanwhile, defendants LEHR, WEDIN, D’ADAMO, DOWLING and RICE, and

a phalanx of SRG officers under their supervision, moved in behind the protesters from the Brown

Place end of the East 136th Street block, completely encircling and trapping the people on the block

in a police maneuver known as “kettling” or “encirclement.”

         64.   From that point on, the seized people on East 136th Street were not permitted to

leave.

         65.   Defendants encircled and seized the protestors on East 136th Street before 8:00

p.m.; the curfew was not yet in effect.



                                                12
        Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 13 of 43




       66.     At no time from the moment that protesters first gathered at The Hub until they

were kettled and seized on East 136th Street did any NYPD officer order the protesters to disperse

or instruct them to leave the roadway where they marched.

       67.     As the protesters were held in the kettle, they asked NYPD officers to allow them

to leave, and chanted “Let us go! Let us go!”

       68.     Defendants did not permit protesters to leave the kettle.

       69.     With the protesters trapped and detained, the NYPD launched the next phase of its

plan. Without warning, the individual defendants and scores of officers under their command

assaulted the people seized on East 136th Street.

       70.     Defendants    MONAHAN,           LEHR,   GALLITELLI,        WEDIN,    D’ADAMO,

DOWLING, DELGADO, RICE, GARGUILO, MIGLIACCIO, and MOSHER oversaw,

supervised, and directed other officers and personally participated in the assault upon and the

cuffing of the people seized on East 136th Street.

       71.     Officers with batons and shields struck people at the edge of the encircled group,

and officers thrust raised bicycles into the trapped group, forcing the encircled people tightly

together. Defendant MIGLIACCIO and other officers sprayed them with pepper spray.

       72.     The protesters had committed no acts of violence or resistance that would justify

this excessive and unreasonable use of force.

       73.     Many people were left injured and bleeding. Some fainted or lost consciousness

and went into convulsions.

       74.     Defendant MONAHAN personally ordered the arrest of one of the organizers and

leaders of the protest who was committing no offense and was engaged in protected speech at the

very moment he ordered officers to arrest her.



                                                 13
          Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 14 of 43




          75.   Volunteer medics and legal observers were arrested.

          76.   Individuals who happened to be on East 136th Street between Brook Avenue and

Brown Place at the time of the police operation – individuals who had not marched from The Hub

and were not protesting – were arrested. Other people who were in the vicinity after the curfew,

but were not protesting, were not arrested.

          77.   Many people who had done nothing to the officers and were not resisting arrest

were violently thrown to the ground before they were handcuffed, or otherwise violently forced to

bring their arms behind them. Officers systematically applied zip-tie “flex-cuffs” that were

cinched tighter than necessary. Approximately 300 people were detained in flex-cuffs.

          78.   Many protesters complained that their zip-tie cuffs were too tight and were causing

their hands to become numb, and many protesters’ hands turned purple.

          79.   None of the people arrested on June 4th on East 136th Street received a summons at

the scene.

          80.   Instead, the NYPD held protesters in overly tight zip-tie cuffs and transported them

to mass arrest processing facilities and precinct stationhouses.

          81.   Throughout the NYPD’s June 4th operation, most of the officers did not wear face

masks or face shields to prevent the transmission of the coronavirus.

          82.   On June 4, 2020, New York City had suffered more than 280,000 reported cases of

COVID-19, and over 1,000 new cases were reported that day.

          83.   Unlike the police, most of the protesters did wear masks or face shields, but in many

instances, officers forcibly removed protesters’ masks and face shields, further endangering their

safety.




                                                 14
        Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 15 of 43




       84.         Once arrested, people were unable to re-position their masks to cover their noses

and mouths while they were rear-cuffed, and as a result, they were transported to the arrest

processing facilities in enclosed vehicles without proper face coverings. Protesters complained

that their faces were left uncovered, but nothing was done to assist them.

       85.     The protesters spent from 6 to 20 hours in custody; some were held longer and

detained until the next afternoon.

       86.     During that time, individual defendants went to the NYPD arrest-processing facility

in Queens where many of the arrestees were being processed.

       87.     Arrestees detained at the Queens facility asked individual defendants to wear face

masks, but they refused to do so.

       88.     At the Queens facility, individual defendants instructed officers to stop issuing

summonses and instead to issue all remaining arrestees Desk Appearance Tickets, thus prolonging

their detention.

       89.     Defendant DELGADO gave a false account of the incident to the Bronx District

Attorney’s Office in support of charges against the people arrested on East 136th Street.

       90.     Defendant DELGADO created a uniform scripted narrative to be used by officers

processing protesters’ arrests. The scripted narrative falsely stated, among other things, that

protesters were “slapping and shoving the police,” that the “crowd was ordered to disperse and

refused,” that “some members of the crowd [were in] possession of . . . hammers[] and wrenches,”

and that an NYPD Inspector was “stabbed in the left arm” during the protest.

       91.     In September 2020, the Bronx District Attorney’s Office filed a motion to dismiss

312 summonses issued to people arrested at the Mott Haven protest on June 4, 2020, and declined

to prosecute 61 Desk Appearance Tickets.



                                                  15
        Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 16 of 43




IV.    Experiences of the Named Plaintiffs

       A.      Samira Sierra

       92.     Plaintiff Samira Sierra is a Black Dominican woman who is a lifelong resident of

the Bronx. On June 4, 2020, she was 28 years old. She graduated from the State University of

New York at Albany in 2013 and entered the Peace Corps in 2014; she served in Madagascar for

two years. At the time of her arrest in Mott Haven she was working in business development in

the technology sector.

       93.     On the afternoon of June 4, 2020, plaintiff Samira Sierra and her sister, plaintiff

Amali Sierra, attended the protest at The Hub. Because of the ongoing COVID pandemic, she and

her sister were wearing face masks.

       94.     At some point, plaintiff Samira Sierra saw protesters leave The Hub and begin to

march down the roadway of Third Avenue. She and her sister followed them and participated in

the roadway march, protesting with the group. When she arrived on East 136th Street, she and her

sister were enclosed in the NYPD kettle.

       95.     Plaintiff Samira Sierra asked police officers that she be permitted to leave the

encircled group but was told she could not.

       96.     Plaintiff Samira Sierra saw the police using pepper spray on protesters. She was

concerned that the pepper spray could have a bad effect on people’s respiratory systems during the

COVID-19 epidemic.

       97.     After cuffing people closer to the edge of the group, officers got to plaintiff Samira

Sierra and her sister. As plaintiff Amali Sierra was putting a bottle of water in her backpack, she

was seized by a group of officers who threw her to the ground. Both plaintiff Samira Sierra and

her sister told the officers that plaintiff Amali Sierra had multiple sclerosis and was disabled. A



                                                16
        Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 17 of 43




police officer said to plaintiff Samira Sierra, in sum and substance, “why would your sister be out

here protesting if she’s disabled?”

       98.     Five or six officers seized plaintiff Samira Sierra and threw her to the ground,

causing an injury on her left arm that, as of the date of filing of this Complaint, is still a visible

scar. She was put in zip-tie cuffs that were excessively tight. She and her sister sat on the

pavement, with their hands zip-tie cuffed behind their backs, for a number of hours.

       99.     Police Officer Umid Karimov took plaintiff Samira Sierra from her place on the

ground to a bus, and when she complained to him that the zip-tie cuffs were too tight, he did

nothing to relieve her pain. She stood in a line of similarly-escorted protesters waiting to be placed

on the bus.

       100.    Police Officer Alfredo Jeff approached plaintiff Samira Sierra and told her that he

was assigned to be her arresting officer. She and her sister were taken on the bus to an arrest

processing location in Queens.

       101.    Plaintiff Samira Sierra was placed in a holding cell with her sister and many other

women. Although many of the women in the holding cell requested food and water, none was

provided. There was no toilet paper, and although many women asked for toilet paper, and some

women asked for sanitary supplies, none were provided.

       102.    Police Officer Alfredo Jeff issued a pink summons to plaintiff Samira Sierra

charging her with Violation of Mayor’s Executive Order, and she was released from detention

during the morning of June 5, 2020.

       103.    All charges were dismissed against plaintiff Samira Sierra.




                                                 17
        Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 18 of 43




       B.      Amali Sierra

       104.    Plaintiff Amali Sierra is an Afro-Dominican woman who is a lifelong resident of

the Bronx. On June 4, 2020, she was 22 years old. She graduated from the State University of

New York at Albany in 2019; and has pursued a career in fine arts museum curation. She has

multiple sclerosis.

       105.    On June 4, 2020, plaintiff Amali Sierra attended the protest at The Hub with her

sister, plaintiff Samira Sierra. She and her sister left The Hub with the other protesters, and she

was kettled with the group of protesters on East 136th Street.

       106.    Plaintiff Amali Sierra could smell and feel the pepper spray the police were

spraying on the kettled protesters, and was concerned that the pepper spray could have a bad effect

on people’s respiratory systems during the COVID-19 epidemic.

       107.    After cuffing people closer to the edge of the group, officers got to plaintiff Amali

Sierra and her sister. As she was putting a bottle of water in her backpack, she was seized by a

group of officers and slammed to the ground. She was brought to her feet and zip-tie cuffed. The

cuffing and violent take-down left bruises on her wrists and arms that were visible for

approximately two weeks.

       108.    As the officers cuffed plaintiff Amali Sierra, both she and her sister told the officers

that she had multiple sclerosis and was disabled. A white-shirted officer stated, “don’t come to a

riot when you have MS, how about that!” Plaintiff Amali Sierra and her sister were seated on the

pavement, with their hands zip-tie cuffed behind their backs, for a number of hours. She was

escorted by a police officer to a bus, where she stood in a line of similarly-escorted protesters

waiting to be placed on the bus. Police Officer Alfredo Jeff approached her, and said that he was




                                                 18
        Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 19 of 43




assigned to be her arresting officer. She and her sister were taken on the bus to an arrest processing

location in Queens.

       109.    Police Officer Alfredo Jeff issued a pink summons to plaintiff Amali Sierra

charging her with Violation of Mayor’s Executive Order, and she was released from detention

during the morning of June 5, 2020.

       110.    All charges were dismissed against plaintiff Amali Sierra.

       C.      Ricardo Nigaglioni

       111.    Plaintiff Ricardo Nigaglioni is a Black-Latino man who has been a lifelong resident

of the Bronx. On June 4, 2020, he was 30 years old. He is an R&B and hip-hop singer-songwriter,

and is also employed as a teaching artist by various non-profit organizations.

       112.    On June 4, 2020, plaintiff Nigaglioni went to the protest at The Hub with plaintiff

Gutierrez. He left The Hub with the other protesters, and was kettled with the group on East 136th

Street. He was wearing a face shield and face mask to protect himself and others from the

coronavirus.

       113.    Plaintiff Nigaglioni wanted to leave before the 8:00 p.m. curfew, and asked police

officers to permit him to do so, but they refused. Defendant MIGLIACCIO lifted Plaintiff

Nigaglioni’s face shield, pulled down his face mask, and pepper sprayed him in the face, blinding

him. Plaintiff Gutierrez attempted to assist and guide him. When an officer agreed to their request

to leave, they attempted to do so, but plaintiff Nigaglioni was immediately tackled and placed in

zip-tie cuffs, and then taken to the middle of the street, where he was put on his knees on the

pavement.

       114.    Plaintiff Nigaglioni experienced pain and irritation in his eyes for approximately

six weeks to two months, and vision problems to the date of the filing of this Amended Complaint.



                                                 19
        Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 20 of 43




He experienced pain in his wrists from tight zip-tie cuffs, which marked his skin and causes

intermittent weakness and discomfort in his wrists when he plays instruments, uses a computer,

and participates in other similar activities.

        115.    Plaintiff Nigaglioni was also concerned that the pepper spray could have a bad

effect on his and others’ respiratory systems during the COVID-19 pandemic.

        116.    Plaintiff Nigaglioni remained on the ground for a number of hours and was then

escorted to a bus which took him to an arrest processing facility in Queens. He was placed in a

holding cell with many other men. Although many of the men in the holding cell requested food

and water, none was provided. There was no toilet paper, and although the prisoners requested

toilet paper, it was not provided. His face mask and shield were no longer on his person when he

was placed in the holding cell.

        117.    At no time during his detention was he provided with any assistance or treatment

for the injuries he sustained from pepper spray and tight handcuffs.

        118.    Police Officer Debora Matias issued a pink summons to plaintiff Nigaglioni

charging him with violation of the curfew, and he was released from detention the morning of

June 5, 2020.

        119.    All charges were dismissed against plaintiff Nigaglioni.

        D.      Alex Gutierrez

        120.    Plaintiff Alex Gutierrez is an Afro-Latino man who has been a lifelong resident of

the Bronx. On June 4, 2020, he was 29 years old. He has been an employee of the New York City

Department of Education for over ten years, teaching Physical Education to special needs children

and coaching baseball, basketball and football. He is also employed as a coach and teaching artist

by various non-profit organizations.



                                                20
        Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 21 of 43




       121.    On June 4, 2020, plaintiff Gutierrez went to the protest at The Hub with plaintiff

Nigaglioni. He left The Hub with the other protesters, and was kettled with the group of protesters

on East 136th Street. He was wearing a face shield and face mask to protect himself and others

from the coronavirus.

       122.    Plaintiff Gutierrez wanted to leave before the 8:00 p.m. curfew, and asked police

officers to permit him to do so, but they refused. He saw plaintiff Nigaglioni get pepper sprayed

after his face shield had been lifted and his face mask pulled down.

       123.     Plaintiff Gutierrez pleaded with officers to permit him to escort plaintiff

Nigaglioni—who was complaining that he could not see—out of the kettle. As plaintiff Gutierrez

was guiding plaintiff Nigaglioni by grasping Nigaglioni’s arm with his hand, a police officer struck

plaintiff Gutierrez with a baton on his arm. Pepper spray from more than one police source got

into his eyes. He was concerned that the pepper spray could have a bad effect on his and others’

respiratory systems during the COVID-19 epidemic.

       124.    Plaintiff Gutierrez was forced to the ground, and then taken to the middle of the

street. He saw a young woman lose consciousness. He experienced pain in his wrists from tight

zip-tie cuffs which cut into his skin, and continues to experience pain.

       125.    Plaintiff Gutierrez remained on the ground for a number of hours, and was then

escorted to a bus which took him to an arrest processing facility in Queens. When plaintiff

Gutierrez arrived, he was required to stand in a line outdoors in the rain for hours before being

taken into the facility. He was placed in a holding cell with many other men. There was no toilet

paper, and although the prisoners requested toilet paper, it was not provided.

       126.    On June 5, 2020, at approximately 4:00 p.m., Police Officer Andre Jeanpierre

issued a Desk Appearance Ticket to plaintiff Gutierrez, and he was released.



                                                21
          Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 22 of 43




          127.   The Bronx District Attorney declined to prosecute the charges against plaintiff

Gutierrez.

          E.     Charles Henry Wood

          128.   On June 4, 2020, Mr. Wood attended the protest in Mott Haven with several friends.

Mr. Wood believed it was important to exercise his right to peaceful protest to support and amplify

the concerns of Bronx residents who were marching in their own community. Mr. Wood believes

that systemic racism and violence of our police institutions urgently needs to change, and on the

day in question he decided to speak up for change.

          129.   When the protest reached East 136th Street, lines of police hemmed in the group of

protesters on all sides, preventing them from moving.

          130.   At some point, without any warning, police rushed into the area where Mr. Wood

was standing.

          131.   The police started hitting people with batons, discharging chemical spray, and

pulling people out of the crowd and arresting them.

          132.   As the police did so, people started falling down.

          133.   Mr. Wood was standing next to a young Black woman who fell down, screaming

that she had hurt her leg and could not put any weight on it.

          134.   Mr. Wood huddled over the young woman in an effort to prevent others from falling

on her.

          135.   As Mr. Wood hunched over in an effort to protect the woman, an NYPD officer

struck Mr. Wood hard in the upper back with a police baton.

          136.   Defendant MOSHER then ripped Mr. Wood away from behind, dragged him away

from the crowd, lifted him, and threw him to the ground.



                                                  22
         Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 23 of 43




         137.   Mr. Wood’s elbow struck the ground hard as he was thrown down.

         138.   Police put their knees on Mr. Wood’s back.

         139.   Defendant GARGUILO handcuffed Mr. Wood very tightly with plastic zip-tie

cuffs.

         140.   Mr. Wood did not have any weapon in his possession.

         141.   Mr. Wood did not actively or passively resist arrest.

         142.   Mr. Wood did not engage in any violence toward any NYPD personnel at any time.

         143.   Mr. Wood did not use any physical force against any NYPD personnel at any time.

         144.   Mr. Wood did not witness any other person engage in any act of violence toward

any NYPD personnel on June 4, 2020.

         145.   Large groups of arrestees were placed on buses while handcuffed for several hours.

         146.   Multiple buses, including Mr. Wood’s, went to Queens Central Booking in Kew

Gardens for processing of the arrests.

         147.   After being taken off the buses, the arrestees were lined up outside several hours

before being processed.

         148.   Mr. Wood repeatedly complained to police that his zip-tie cuffs were too tight and

were very painful, as did most of the other arrested protesters on the line.

         149.   There were dozens of officers present, but only one captain appeared to have access

to cutters that could cut through the plastic zip-tie cuffs.

         150.   Mr. Wood’s zip-tie cuffs were not removed until about three or four hours after he

complained about the pain he was experiencing because they were too tight.

         151.   The zip-tie cuffs were so tight that, when they were finally removed, the person

removing them had to dig the blade of the cutter into the skin of Mr. Wood’s wrist to get the off.



                                                  23
          Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 24 of 43




          152.   Mr. Wood was held with about 10-12 other people in a cramped cell overnight

without food or water.

          153.   While he was in custody, Mr. Wood’s right hand swelled dramatically like a

baseball due to the tightness of the zip-tie cuffs.

          154.   In the late morning of June 5, 2020, Mr. Wood was given a Desk Appearance Ticket

for unlawful assembly under Penal Law § 240.10, signed by police officer Ismael Hernandez

Carpio.

          155.   Mr. Wood was then released from custody.

          156.   The purported basis for Mr. Wood’s arrest was relayed entirely by Defendant

DELGADO to the arresting officer.

          157.   Defendant DELGADO did not observe Mr. Wood engage in any lawful activity or

have any particularized information that Mr. Wood engaged in any unlawful activity.

          158.   In the weeks and months after the police assault in Mott Haven, Mr. Wood kept

replaying the experience over and over in his mind.

          159.   He was traumatized by what happened to him and what he saw happen to others.

          160.   Mr. Wood’s hand remained swollen for more than a week after the protest.

          161.   He continued to experience an unusual loss of sensation in his thumb that he had

never experienced before being zip tied on June 4 and had a lasting mark on his hand where the

scissors dug into his skin to remove the zip-tie cuffs.

          162.   The District Attorney declined to prosecute Mr. Wood.

V.        City Officials’ Expressions of Hostility Toward the Protesters’ Message and Support
          for Unjustified Police Violence Against the Protesters.

          163.   In the days leading up to the NYPD’s June 4th Mott Haven operation, individual

defendants and other high-level officials in the NYPD, made public statements that were hostile


                                                  24
         Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 25 of 43




toward the message of the protesters – to defund or abolish the police, and end racially-biased law

enforcement practices – and supported the violent response by police officers to the protests.

        164.     On June 2, 2020, defendant MONAHAN publicly made disparaging comments

about the message of many protesters to defund or abolish the police.

        165.     Before he was promoted to Chief of Department, defendant MONAHAN served as

a Deputy Chief. In that position, he orchestrated an NYPD operation to kettle a large group of

peaceful protesters during the 2004 protests of the Republican National Convention in New York

City, and then ordered their arrests. Then-District Judge Richard Sullivan, now a Circuit Court

Judge of the Second Circuit Court of Appeals, concluded that defendant MONAHAN’s actions

were unconstitutional.6 After trial, a jury found defendant MONAHAN liable for $25,000 in

punitive damages for his intentional and malicious conduct.7 Defendant MONAHAN was later

promoted to Chief of Department, the highest-ranking uniformed officer in the NYPD.

        166.     On May 30, 2020, in response to a video of an NYPD SUV driving into a crowd of

peaceful protesters, defendant Mayor DE BLASIO said publicly, “I do believe the NYPD has acted

appropriately.”

        167.     At a press conference on June 4, 2020, the same day as the NYPD’s operation in

Mott Haven, Police Commissioner Shea laid bare his opinion of the message carried by protesters

like those in Mott Haven: “You look at the anti-police rhetoric, it disgusts me to my core.”




        6
          See Dinler v. City of New York, No. 04 Civ. 7921 (RJS) (JCF), 2012 U.S. Dist. LEXIS 141851, at *27-39
(S.D.N.Y. Sept. 30, 2012).
        7
          Abdell v. City of New York, No. 05 Civ. 8453 (RJS), Judgment at Dkt. 432. The City of New York paid
those punitive damages on MONAHAN’s behalf, thus ratifying his conduct.


                                                      25
        Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 26 of 43




       168.      Defendant Mayor DE BLASIO also spoke at a press conference on June 4, 2020,

and claimed, incredibly, that he had not seen any of the many widely-circulated videos of police

violence against protesters in Brooklyn on June 3rd.

       169.      Defendant Mayor DE BLASIO praised the NYPD’s response to the protests and

did not disavow the NYPD’s use of violence against protesters.

       170.      During a June 5, 2020, press conference the day after the NYPD’s operation in Mott

Haven, Police Commissioner Shea praised the operation: “We had a plan which was executed

nearly flawlessly in the Bronx.”

       171.      Defendant Mayor DE BLASIO said at the June 5th press conference that “observers

for City Hall” were at the NYPD’s Mott Haven operation, and they reported to the Mayor what

they observed.

       172.      Defendant DE BLASIO and Shea have made disparaging public statements about

the June 4th Mott Haven protest, claiming that it was intended “to cause mayhem,” and have

attempted to justify the NYPD’s actions with false claims that “people appeared at the protest with

weapons and gasoline.”

       173.      City Officials and other high-level officials in the NYPD have made other public

statements critical of the message of police reform and racial equality in policing.

VI.    The City’s Official Investigation of the NYPD’s Policing of the George Floyd/Black
       Lives Matter Demonstrations, Including the June 4th Mott Haven Protest, and Other
       Lawsuits Concerning the NYPD’s Policing of Demonstrations.

       174.      The New York City Department of Investigation (“DOI”) conducted an

investigation of the NYPD’s response to the George Floyd/Black Lives Matter Demonstrations.




                                                 26
        Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 27 of 43




        175.    On December 18, 2020, the DOI released a report, “Investigation into NYPD

Response to the George Floyd Protests,” about its findings.8

        176.    The DOI found that, among other things:

                a.      the “NYPD’s use of force on protesters—encirclement (commonly called
                ‘kettling’), mass arrests, baton and pepper spray use, and other tactics—reflected a
                failure to calibrate an appropriate balance between valid public safety or officer
                safety interests and the rights of protesters to assemble and express their views”;

                b.      some of the NYPD’s “policing decisions relied on intelligence without
                sufficient consideration of context or proportionality,” specifically during the June
                4th Mott Haven protests; and

                c.       “most officers responding to the protests had not received recent relevant
                training for policing protests.” DOI Report pp. 3-4, 39-62.

        177.    The DOI also found, with regard to the NYPD’s June 4th operation in Mott Haven:

                Unlike some protests that continued in various parts of Manhattan and
                Brooklyn well after 8:00 p.m., the NYPD strictly enforced the curfew in the
                Bronx, after protesters marched from The Hub (the area around the
                intersection of East 147th Street, Willis Avenue, and 3rd Avenue) through
                the neighborhood of Mott Haven. Shortly before the 8:00 p.m. curfew took
                effect, NYPD Strategic Response Group (SRG) bicycle squad officers
                blocked the path of the protest group at Brook Avenue and East 136th
                Street. Simultaneously, another group of NYPD personnel approached from
                behind the protest group to enclose a larger portion of the group on a block
                with parked cars lining either side.

DOI Report p. 21.

        178.    The NYPD’s June 4th operation in Mott Haven reflected the NYPD’s operation

generally in response to the George Floyd/Black Lives Matter demonstrations.

        179.    On June 3, 2020, the NYPD had carried out a similar operation in Brooklyn: NYPD

officers surrounded non-violent protesters who were critical of the NYPD and its history of racially




        8
         The DOI report is available at https://www1.nyc.gov/assets/doi/reports/pdf/2020/DOIRpt.NYPD Reponse.
GeorgeFloyd Protests.12.18.2020.pdf.


                                                     27
        Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 28 of 43




biased policing; and as they later did in Mott Haven, NYPD officers violently assaulted and

arrested protesters in retaliation for their exercise of free speech.

        180.    The circumstances of the NYPD’s June 3rd operation in Brooklyn are described in

detail in another federal lawsuit filed on July 15, 2020, Gelbard et al. v. City of New York et al.,

20 Civ. 3163 (MKB) (RER) (E.D.N.Y.).

        181.    The NYPD’s June 3rd operation in Brooklyn and the June 4th operation in Mott

Haven were similarly violent toward the protesters.

        182.    As described in the Gelbard Complaint, the NYPD carried out no less than six other

operations between May 29th and June 4th that involved the same tactics deployed during the Mott

Haven operation on June 4th, that is, surrounding protesters critical of the NYPD and police

practices that target communities of color, and violently assaulting and arresting protesters.

Gelbard Complaint ¶¶ 51-75.

        183.    Another federal lawsuit, Payne v. de Blasio, 20 Civ. 8924 (CM)(GWG), filed by

the New York Civil Liberties Union and The Legal Aid Society, describes these same NYPD

operations and others with the same general tactics as those deployed on June 4th in Mott Haven:

        Protesters repeatedly were met with the very pattern of police violence they
        marched to end. The Mayor of New York and the NYPD’s leadership condoned
        and even promoted that violence. . . . These attacks . . . were undertaken in
        retaliation for the protesters’ message — calling for greater police accountability,
        a reallocation of funding from away from police departments and into Black and
        Latinx communities, the end of police brutality, and a recognition that Black Lives
        Matter.

Payne Complaint ¶¶ 1, 3, 35-60.

        184.    The Payne Complaint also describes the “widespread and frequent” violence

committed by NYPD officers against “protesters at demonstrations and rallies in support of Black

Lives Matter and against police violence.” Payne Complaint ¶ 63.



                                                  28
         Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 29 of 43




        185.     In July 2020, the Attorney General of the State of New York released a

“Preliminary Report on the New York City Police Department’s Response to Demonstrations

Following the Death of George Floyd.” It described widespread violence by NYPD officers

directed at peaceful protesters.

        186.     On January 14, 2021, the New York Attorney General filed People of the State of

New York v. City of New York, 21 Civ. 322 (CM)(GWG), which describes a troubled history,

beginning in the early 2000’s, of NYPD policing of protest activity. This includes application of

“disorder control” methods without due regard for the First Amendment rights of protesters. It

also presents graphic evidence of the widespread use of police violence against the George

Floyd/Black Lives Matter protesters – violence far in excess of what took place at the largescale

protests of earlier years.

        187.     On January 21, 2021, Sow v. City of New York, 21 Civ. 533 (CM) (GWG), was

filed. It also describes decades of unconstitutional policing of protest activity by the NYPD, and

especially egregious conduct in the policing of the George Floyd/Black Lives Matter protests.9

VII.    The NYPD’s History of Racially Biased Policing and Deliberate Indifference to Racial
        Bias in the Police Department.

        188.     In 2013, the Court in Floyd v. City of New York, 08 Civ. 1034 (S.D.N.Y. 2013), and

related actions, following an exhaustive trial found that the NYPD engaged in widespread

intentional racial discrimination through its “Stop and Frisk” policy and practices.

        189.     Also in 2013, the Office of the Inspector General of the New York City Police

Department (“OIG-NYPD”) was created by Local Law 70, which amended the City Charter.




         9
           All allegations in the operative complaints in the above-referenced Gelbard, Payne, People, and Sow
actions are incorporated by reference into these pleadings.


                                                        29
         Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 30 of 43




        190.    OIG-NYPD issued a report on June 26, 2019 entitled, “Complaints of Biased

Policing in New York City: An Assessment of NYPD’s Investigations, Policies, and Training”

(“OIG Biased Policing Report”).10 The report was based on an examination of the “NYPD’s

handling of 888 biased policing allegations filed between late 2014 and early 2017 and closed by

mid-2017.” OIG Biased Policing Report at 2.

        191.    The OIG Biased Policing Report noted that prior to October 2014 the “NYPD did

not track biased policing complaints.” OIG Biased Policing Report at 1. Biased policing is

prohibited by New York City Administrative Code Section 14-151, which was enacted long before

2014, and has since been amended to address continuing evidence of racially biased practices by

the NYPD.

        192.     OIG-NYPD found that of the 2,495 complaints of biased policing that the NYPD

investigated between November 2014 and the end of 2018, the NYPD substantiated none. OIG

Biased Policing Report at 17-18.

        193.    OIG-NYPD recommended, among other things, that (1) the “NYPD should amend

its Patrol Guide policies to explicitly require NYPD officers and non-uniformed employees to

report instances of biased policing upon observing or becoming aware of such conduct”; (2) the

“NYPD should amend its Patrol Guide policies so that complaints alleging the use of offensive or

derogatory language associated with an individual’s actual or perceived protected status, such as

racial slurs, are classified as biased policing if there is a discriminatory intent”; and (3) the “NYPD

should amend its written investigative procedures related to biased policing so that offensive or

derogatory language associated with an individual’s actual or perceived protected status, such as




        10
          The OIG Biased Policing Report is available at https://www1.nyc.gov/assets/doi/reports/pdf/2019/Jun/
19BiasRpt_62619.pdf.


                                                     30
         Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 31 of 43




an officer’s use of racial slurs, is classified, investigated, and adjudicated as a biased policing

matter.” OIG Biased Policing Report at 52-53.

        194.     The NYPD rejected each of these three OIG-NYPD recommendations concerning

biased policing. See Sixth Annual OIG-NYPD Report, at 9-10, issued April 9, 2020.11

        195.     In August 2019, the President of the NYPD Sergeants Benevolent Association

(“SBA”), the second largest NYPD union, emailed a racist video clip to thousands of NYPD

Sergeants. The union president, Edward Mullins, accompanied the clip with his own opinion:

“Pay close attention to every word. You will hear what goes through the mind of real policemen

every single day on the job. This is the best video I’ve ever seen telling the public the absolute

truth.”12

        196.     The video includes a narrator saying, “The projects will always be dens of crime

and violence . . . Cops will continue to wade into that fray and blacks will continue to attack and

ambush us forever.”

        197.     The SBA President was also the subject of a December 16, 2020 City Council

proceeding on “Racism, Bias, and Hate Speech in the NYPD.”13 City Council members questioned

NYPD First Deputy Commissioner Benjamin Tucker and NYPD Assistant Deputy Commissioner

for Legal Matters Oleg Chernyavsky about the fact that Sgt. Mullins had appeared publicly with a

QAnon mug. 12/16/2020 City Council Hearing Tr. 52-65.




        11
           The Sixth Annual OIG-NYPD Report is available at https://www1.nyc.gov/assets/doi/reports/pdf
/2020/OIGNYPD_SixthAnnualReportFinal_4.9.2020.pdf.
        12
           Jake Offenhartz, NYPD Police Union Boss: Sorry For Sharing Racist Video, ‘I Have Black Friends’,
Gothamist (Aug. 14, 2019), https://gothamist.com/news/nypd-police-union-boss-sorry-for-sharing-racist-video-i-
have-black-friends.
        13
           The City Council Committee on Oversight Briefing Report on Racism, Bias, and Hate Speech in the NYPD,
and the transcript of the December 16, 2020 City Council hearing are available at Error! Hyperlink reference not
valid..


                                                      31
         Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 32 of 43




        198.     Finally, in February 2021, the Civilian Complaint Review Board substantiated three

complaints against Sgt. Mullins, two for offensive language and one for abuse of authority, the

latter for having publicly disclosed the arrest of the Mayor’s daughter, who was detained during

the George Floyd/Black Lives Matter protests.14

        199.     The NYPD has not disciplined Sgt. Mullins for any of these acts.

        200.     During the George Floyd/Black Lives Matter summer demonstrations, a video was

widely circulated – and viewed millions of times – of an NYPD officer displaying a “white power”

symbol at one of the protests.

        201.     There was no question what the officer’s symbol meant. NBC News said it was

“not publishing or linking to the video to avoid providing a platform to apparent expressions of

hate or white supremacy.”15

        202.     While the NYPD said it would investigate the incident, no city official publicly

condemned the officer’s conduct.

        203.     As described in the Payne Complaint at ¶ 34:

        When the COVID-19 pandemic hit New York City, the NYPD’s enforcement
        practices disproportionately targeted Black and Latinx New Yorkers. In early May,
        the Kings County District Attorney’s Office found that 35 out of 40 people arrested
        for social distancing violations were Black New Yorkers. Additionally, while
        officers handed out protective equipment in largely white neighborhoods, they used
        aggressive tactics to enforce social distancing in majority Black and Latinx
        neighborhoods.16 In a bystander video gone viral, Officer Francisco Garcia is
        captured on video tackling, punching, and sitting on top of a Black man during an


        14
           Christopher Robbins, Police Union Boss Calls Misconduct Charges “Laughable”, GOTHAMIST (Feb. 15,
2021), https://gothamist.com/news/police-union-boss-calls-misconduct-charges-laughable.
        15
           Janelle Griffith and Matteo Moschella, NYPD officer appears to make white power sign at protest,
prompting probe, NBC NEWS (June 4, 2020), https://www.nbcnews.com/news/us-news/nypd-officer-appears-make-
white-power-sign-protest-prompting-probe-n1224141.
        16
           Ashley Southall, Scrutiny of Social-Distance Policing as 35 of 40 Arrested Are Black, N.Y. TIMES (May 7,
2020), https://www.nytimes.com/2020/05/07/nyregion/nypd-social-distancing-race-coronavirus.html; Josiah Bates,
Police Data Reveals Stark Racial Discrepancies in Social Distancing Enforcement Across New York City, TIME
(May 8, 2020), https://time.com/5834414/nypd-social-distancing-arrest-data/.


                                                        32
         Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 33 of 43




        arrest of social distancing enforcement.17 A young Black mother was brutally
        arrested inside a subway station, in front of her young child, for improperly wearing
        a mask.18 At the same time, photos, videos, and complaints of officers refusing to
        wear masks proliferated, reinforcing a sense of deep frustration at racist and unfair
        police encounters.19

        204.       On December 16, 2020, the New York City Council Committee on Oversight and

Investigations, and the Committee on Public Safety, issued a Briefing Paper and conducted a

hearing on Racism, Bias, and Hate Speech in the NYPD.20 The hearing devoted significant

attention to the Commanding Officer of the NYPD’s Equal Employment Office, Deputy Inspector

James Kobel, who had also served as the Executive Officer of the NYPD’s Equal Employment

Office for approximately five years prior to becoming Commanding Officer.

        205.       An investigation by the City Council revealed that Kobel posted explicitly racist,

misogynist, homophobic, and anti-Semitic messages on an online site frequented by police

officers, one of many such sites where police officers express similar views.21 The City Council

Committee, not the NYPD, had investigated and identified Kobel as the person who had expressed

these vile views.

        206.       The NYPD had known about the site where Kobel posted, “Law Enforcement

Rant,” for “at least a decade,” and as NYPD First Deputy Commissioner Tucker explained, “people




        17
            Video of NYPD Arrest During Social Distancing Enforcement Sparks Outcry, ABC NEWS (May 4, 2020),
https://abc7ny.com/nypd-violent-arrest-east-village-caught-on-camera-legal-aid/6147631/; Justine Re, Viral Videos
Spark Concern About Unequal Social Distancing Enforcement in Five Boroughs, SPECTRUM NEWS (May 6, 2020),
https://www.ny1.com/nyc/all-boroughs/coronavirus-blog/2020/05/06/controversial-social-distancing-arrest.
        18
           Jake Offenhartz, Violent Arrest Of Brooklyn Mom During Mask Confrontation Deemed “Troubling” By
De Blasio, GOTHAMIST (May 14, 2020), https://gothamist.com/news/violent-arrest-brooklyn-mom-during-mask-
confrontation-deemedtroubling-de-blasio.
        19
           Michael Wilson, Why Are So Many NYPD Officers Refusing to Wear Masks at Protests?, N.Y. TIMES
(June 11, 2020), https://www.nytimes.com/2020/06/11/nyregion/nypd-face-masks-nyc-protests.html.
       20
          https://legistar.council.nyc.gov/LegislationDetail.aspx?ID=4729634&GUID=BB06F546-F91F-44E6-
927A-A8AB902A74A5&Options=&Search=.
        21
             https://council.nyc.gov/press/2020/11/06/2039/.


                                                         33
        Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 34 of 43




who are on it are police officers.” When First Deputy Commissioner Tucker was asked if he was

“aware that members of your department are engaging in hate speech and explicit bias on these

online message boards?” he responded, “we don’t monitor that site regularly.” He also testified

that the NYPD had not attempted to monitor and investigate these message boards and unmask the

identities of officers on these message boards.

                                 CLASS ACTION ALLEGATIONS

       207.    Plaintiffs seek to represent a certified class pursuant to Rule 23(b)(3) of the Federal

Rules of Civil Procedure consisting of all persons who were arrested in the kettle on East 136th

Street between Brown Place and Brook Avenue at the June 4th Mott Haven demonstration.

       208.    The members of the class are so numerous as to render joinder impracticable.

       209.    Upon information and belief, more than three hundred people were seized and

arrested in the kettle at the June 4th Mott Haven demonstration, and they are all members of the

proposed class.

       210.    Upon information and belief, many class members who had their rights violated by

the City’s unconstitutional policies and practices have not pursued individual claims due to the

difficulty of pursuing litigation and fear of retaliation by law enforcement.

       211.    The class members’ claims share a number of common questions of law and fact,

including, but not limited to:

       a.      Whether the June 4th Mott Haven protesters were arrested in retaliation for their
               protected First Amendment speech;

       b.      Whether it was the City’s policy, practice, or custom to arrest the June 4th Mott
               Haven protesters in retaliation for their protected First Amendment speech;

       c.      Whether the June 4th Mott Haven protesters had permission to march in the
               roadway and on sidewalks, and were seized without an order to disperse or an
               opportunity to disperse;



                                                  34
        Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 35 of 43




        d.      Whether the June 4th Mott Haven protesters were ordered to disperse before they
                were seized;

        e.      Whether the June 4th Mott Haven protesters were arrested without probable cause
                in violation of the Fourth Amendment;

        f.      Whether the purported basis for probable cause for the arrest of the June 4th Mott
                Haven protesters furnished to prosecutors was fabricated;

        g.      Whether it was the City’s policy, practice, or custom to arrest the June 4th Mott
                Haven protesters without probable cause in violation of the Fourth Amendment;

        h.      Whether the June 4th Mott Haven protesters were subjected to excessive force in
                violation of the Fourth Amendment;

        i.      Whether it was the City’s policy, practice, or custom to use excessive force against
                the June 4th Mott Haven protesters in violation of the Fourth Amendment;

        j.      Whether the June 4th Mott Haven protesters were targeted for arrest, excessive
                force, or other law enforcement action on account of their advocacy for racial
                equality in violation of the Fourteenth Amendment; and

        k.      Whether it was the City’s policy, practice, or custom to target the June 4th Mott
                Haven protesters for arrest, excessive force, or other law enforcement action on
                account of their advocacy for racial equality in violation of the Fourteenth
                Amendment.

        212.    The named plaintiffs’ claims are typical of those of the class. Like the other

members of the class, the named plaintiffs were protesters who were assaulted, seized and arrested

at the June 4th Mott Haven demonstration.

        213.    Plaintiffs have a strong personal interest in the outcome of this action, have no

conflicts of interest with members of the plaintiff class, and will fairly and adequately protect the

interests of the class.

        214.    Plaintiffs are represented by Michael L. Spiegel, Joshua S. Moskovitz, Lance A.

Clarke, Robert Rickner, Douglas Lieb, and Alison Frick. Plaintiffs’ counsel are experienced

attorneys who have more than 75 years of combined litigation experience.




                                                 35
        Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 36 of 43




       215.    Mr. Moskovitz and Mr. Spiegel have litigated hundreds of § 1983 actions in federal

court. Mr. Moskovitz has appeared as class counsel in other class action lawsuits, including a

lawsuit concerning the City’s response to protests during the 2004 Republican National

Convention. Mr. Moskovitz is currently lead counsel in a putative class action pending in this

Court against the State of New York addressing religious discrimination claims brought by a

putative class of New York State Correction Officers. Mr. Spiegel represented hundreds of

protesters in the same Consolidated RNC Litigation. He is also counsel in a pending putative class

action in the EDNY concerning the NYPD’s treatment of disabled arrestees.

       216.    Mr. Clarke is a partner with and co-founder of the law firm Hamilton Clarke LLP.

He is a veteran litigator with extensive trial experience.

       217.    Mr. Rickner has represented over one hundred plaintiffs with § 1983 claims.

Mr. Rickner has represented putative classes in two other civil rights cases, as well as over a dozen

wrongful conviction cases that have resulted in multi-million dollar settlements. Prior to becoming

a civil rights lawyer, Mr. Rickner worked at two large firms, focusing on litigating complex

commercial cases, and mass torts. For over five years, Mr. Rickner managed the Port Authority of

New York and New Jersey’s defense of the World Trade Center Disaster Site mass tort litigation,

ultimately settling over ten thousand cases.

       218.    Mr. Lieb and Ms. Frick are partners at Kaufman Lieb Lebowitz & Frick LLP, which

has an extensive background in civil rights and complex civil litigation, including certified class

actions concerning the unlawful confinement of New York State prisoners without judicial

imposition of sentence and wage-and-hour violations, and putative class actions concerning

excessive force against detainees in City jails, over-detention of detainees in City jails, and




                                                 36
        Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 37 of 43




disability discrimination against State prisoners in providing access to alternative incarceration

programs.

       219.     Plaintiffs’ counsel have the resources, expertise, and experience to prosecute this

action, and know of no conflicts among members of the class or between the attorneys and

members of the class.

       220.     A damages class should be certified pursuant to Rule 23(b)(3) of the Federal Rules

of Civil Procedure because questions of law or fact common to class members predominate over

any questions affecting only individual members, and that a class action is superior to other

available methods for fairly and efficiently adjudicating the controversy.

                                FIRST CAUSE OF ACTION
                 42 U.S.C. § 1983 (First Amendment) Against All Defendants

       221.     Plaintiffs reallege and incorporate by reference the allegations set forth in the

foregoing paragraphs as if fully set forth herein.

       222.     In committing the acts and omissions complained of herein, the defendants acted

under color of state law, individually and in concert, including by failing to adequately train,

supervise, and discipline the defendants, to deprive plaintiffs of the rights protected by the First

Amendment to the United States Constitution by directing the plaintiffs to be targeted for law

enforcement action in retaliation for their free speech.

       223.     As a result of the foregoing, plaintiffs were deprived of liberty, suffered specific

and serious bodily injury, emotional distress, costs, and expenses, and were otherwise damaged

and injured.

       224.     The unlawful conduct of the individual defendants was willful, malicious,

oppressive, and/or reckless, and was of such a nature that punitive damages should be imposed

against them.


                                                 37
        Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 38 of 43




                               SECOND CAUSE OF ACTION
                42 U.S.C. § 1983 (Fourth Amendment) Against All Defendants

       225.     Plaintiffs reallege and incorporate by reference the allegations set forth in the

foregoing paragraphs as if fully set forth herein.

       226.     In committing the acts and omissions complained of herein, the defendants acted

under color of state law, individually and in concert, including by failing to adequately train,

supervise, and discipline the defendants, to deprive plaintiffs of the rights protected by the Fourth

Amendment to the United States Constitution.

       227.     As a result of the foregoing, plaintiffs were deprived of liberty, suffered specific

and serious bodily injury, emotional distress, costs, and expenses, and were otherwise damaged

and injured.

       228.     The unlawful conduct of the individual defendants was willful, malicious,

oppressive, and/or reckless, and was of such a nature that punitive damages should be imposed

against them.

                                 THIRD CAUSE OF ACTION
               42 U.S.C. § 1983 (Fourteenth Amendment) Against All Defendants

       229.     Plaintiffs reallege and incorporate by reference the allegations set forth in the

foregoing paragraphs as if fully set forth herein.

       230.     In committing the acts and omissions complained of herein, the defendants acted

under color of state law, individually and in concert, including by failing to adequately train,

supervise, and discipline the defendants, and deprived plaintiffs of the rights protected by the

Fourteenth Amendment to the United States Constitution.




                                                 38
        Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 39 of 43




       231.      As a result of the foregoing, plaintiffs were deprived of liberty, suffered specific

and serious bodily injury, emotional distress, costs, and expenses, and were otherwise damaged

and injured.

       232.      The unlawful conduct of the individual defendants was willful, malicious,

oppressive, and/or reckless, and was of such a nature that punitive damages should be imposed

against them.

                            FOURTH CAUSE OF ACTION
   State Law False Arrest and False Imprisonment Against Defendant City of New York

       233.      Plaintiffs reallege and incorporate by reference the allegations set forth in the

foregoing paragraphs as if fully set forth herein.

       234.      By the actions described above, NYPD officials, while acting in the course and

scope of their duties as officials, agents, and/or employees of the City of New York, falsely arrested

and imprisoned plaintiffs, or caused plaintiffs to be falsely arrested and imprisoned, without

probable cause, illegally and without a warrant, and without any right or authority to do so.

       235.      The acts and conduct of NYPD officials were the direct and proximate cause of

injury and damage to plaintiffs and violated plaintiffs’ statutory and common law rights as

guaranteed by the laws and Constitution of the State of New York.

       236.      As a result of the foregoing, plaintiffs were deprived of liberty, suffered specific

and serious bodily injury, emotional distress, costs, and expenses, and were otherwise damaged

and injured.

                                  FIFTH CAUSE OF ACTION
               State Law Assault and Battery Against Defendant City of New York

       237.      Plaintiffs reallege and incorporate by reference the allegations set forth in the

foregoing paragraphs as if fully set forth herein.



                                                  39
        Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 40 of 43




       238.    By the actions described above, NYPD officials, while acting in the course and

scope of their duties as officials, agents, and/or employees of the City of New York, did inflict

assault and battery upon plaintiffs.

       239.    The acts and conduct of NYPD officials were the direct and proximate cause of

injury and damage to plaintiffs and violated statutory and common law rights as guaranteed by the

laws and Constitution of the State of New York.

       240.    As a result of the foregoing, plaintiffs were deprived of liberty, suffered specific

and serious bodily injury, emotional distress, costs, and expenses, and were otherwise damaged

and injured.

                              SIXTH CAUSE OF ACTION
        State Law Denial of Medical Attention Against Defendant City of New York

       241.    Plaintiffs reallege and incorporate by reference the allegations set forth in the

foregoing paragraphs as if fully set forth herein.

       242.    NYPD officials, while acting in the course and scope of their duties as officials,

agents, and/or employees of the City of New York denied and/or delayed providing plaintiffs

reasonable, good faith medical attention while plaintiffs were in custody of defendants.

       243.    As a result, plaintiffs suffered serious injury or significant exacerbation of injury.

       244.    The NYPD officials’ conduct violated New York Civil Rights Law Section 28.

       245.    As a result of the foregoing, plaintiffs were deprived of liberty, suffered specific

and serious bodily injury, emotional distress, costs, and expenses, and were otherwise damaged

and injured.




                                                 40
         Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 41 of 43




                              SEVENTH CAUSE OF ACTION
          State Law Intentional or Negligent Infliction of Emotional Distress Against
                                 Defendant City of New York

        246.    Plaintiffs reallege and incorporate by reference the allegations set forth in the

foregoing paragraphs as if fully set forth herein.

        247.    By the actions described above, NYPD officials, while acting in the course and

scope of their duties as officials, agents, and/or employees of the City of New York, engaged in

extreme and outrageous conduct, which intentionally and/or negligently caused severe emotional

distress to plaintiffs.

        248.    The acts and conduct of NYPD officials were the direct and proximate cause of

injury and damage to plaintiffs and violated their statutory and common law rights as guaranteed

by the laws and Constitution of the State of New York.

        249.    As a result of the foregoing, plaintiffs were deprived of liberty, suffered specific

and serious bodily injury, emotional distress, costs, and expenses, and were otherwise damaged

and injured.

                             EIGHTH CAUSE OF ACTION
  State Law Negligent Hiring, Screening, Retention, Training, Supervision, and Discipline
                          Against Defendant City of New York

        250.    Plaintiffs reallege and incorporate by reference the allegations set forth in the

foregoing paragraphs as if fully set forth herein.

        251.    The City, acting through the NYPD, has a duty to use reasonable care in the hiring,

screening, retention, training, supervision, and discipline of their employees, including police

officers. The City and the NYPD failed to discharge this duty.

        252.    The City and the NYPD knew of multiple complaints and substantiated findings of

misconduct and constitutional violations by the individual defendants prior to the violations of the

plaintiffs’ rights.

                                                 41
           Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 42 of 43




           253.     The City and NYPD failed to investigate and correct the problems with individual

defendants’ behavior.

           254.     The violations of plaintiffs’ rights by NYPD officials was a foreseeable

consequence of the City’s and NYPD’s failure to adequately screen, train, reprimand, or discipline,

the individual defendants.

           255.     As a direct and proximate result of NYPD officials’ conduct, plaintiffs suffered the

injuries and damages set forth above.

                                    NINTH CAUSE OF ACTION
                  State Law Excessive Detention Against Defendant City of New York

           256.     Plaintiffs reallege and incorporate by reference the allegations set forth in the

foregoing paragraphs as if fully set forth herein.

           257.     NYPD officials, while acting in the course and scope of their duties as officials,

agents, and/or employees of the City of New York, intentionally detained plaintiffs, transported

them to arrest processing facilities where their detention continued, and did not issue appearance

tickets.

           258.     As a direct and proximate result of NYPD officials' conduct, plaintiffs suffered the

injuries and damages set forth above.



        WHEREFORE, Plaintiffs, on behalf of themselves and other members of the class they
seek to represent, respectfully request that this Court:

        a.       enter an order certifying this consolidated action as a class action pursuant to
Rule 23 of the Federal Rules of Civil Procedure, for the class described herein with the named
plaintiffs as class representatives;

      b.      award plaintiffs, and the members of the class they seek to represent, compensatory
damages in an amount that is fair and reasonable, to be determined at trial;




                                                     42
        Case 1:20-cv-08924-CM Document 741 Filed 09/16/22 Page 43 of 43




      a.     award plaintiffs, and the members of the class they seek to represent, punitive
damages against the individual defendants in an amount to be determined at trial;

       b.       award plaintiffs, and the members of the class they seek to represent, reasonable
attorneys’ fees and costs, and interest; and

       c.     grant such other and further relief as this Court deems appropriate and equitable.

Dated: September 16 2022



Joshua S. Moskovitz, Esq.                           Douglas E. Lieb, Esq.
THE LAW OFFICE OF JOSHUA MOSKOVITZ, P.C.            Alison Frick, Esq.
392 Central Avenue # 7803                           KAUFMAN LIEB LEBOWITZ & FRICK LLP
Jersey City, New Jersey 07307                       18 E. 48th Street, Suite 802
(212) 380-7040                                      New York, New York 10017
josh@moskovitzlaw.com                               (212) 660-2332
                                                    dlieb@kllflaw.com
                                                    africk@kllflaw.com

Michael L. Spiegel, Esq.
48 Wall Street, Suite 1100                                 /s/
New York, New York 10005                            Rob Rickner, Esq.
(212) 587-8558                                      RICKNER PLLC
mikespieg@aol.com                                   14 Wall Street, Suite 1603
                                                    New York, New York 10005
                                                    (212) 300-6506
       /s/                                          rob@ricknerpllc.com
Lance A. Clarke, Esq.
HAMILTON CLARKE, LLP
48 Wall Street, Suite 1100
New York, NY 10005
(646) 603-0522
lc@hamiltonclarkellp.com




                                               43
